      Case: 1:06-cr-00272-SL Doc #: 179 Filed: 07/28/08 1 of 2. PageID #: 573




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                       )           Case No. 1:06CR272-002
                                                )
               Plaintiff,                       )
                                                )
       vs.                                      )           Judge Ann Aldrich
                                                )
FABIAN HORTON,                                  )
                                                )
               Defendant.                       )           MEMORANDUM AND ORDER



               Before the court are two motions, filed by defendant, Mr. Horton requesting credit

toward his federal sentence for time served since June 19, 2006 until the sentencing date on

March 28, 2007 [doc. 168 and 172]. The judgment in this case recommended credit for time

served since his arraignment on June 19, 2006 thru sentencing. At the time of the arraignment

the defendant was brought to this court on a Writ of Ad Prosequendum from Cuyahoga County

where he was awaiting charges and sentencing on two state charges. When the defendant pled

guilty to federal charges on October 3, 2006, he was a state prisoner. At the federal sentencing

hearing, on March 28, 2007, this court recommended credit for any time served solely in federal

custody.

               On April 4, 2007, Mr. Horton was sentenced in state court to a two year term for

Burglary and Having Weapons While Under Disability. At that time the state court ordered his

state sentence to run concurrently with the sentence previously imposed by this Court. The

defendant had been in the custody of the State of Ohio before the federal indictment on June 1,

2006. A writ was issued to bring the defendant to our custody for all court hearings. In other

words , we were borrowing the state prisoner to bring him to federal court on federal charges.
      Case: 1:06-cr-00272-SL Doc #: 179 Filed: 07/28/08 2 of 2. PageID #: 574




        According to the State of Ohio, Sentencing Computation Division, the defendant was

given 560 days credit for time served on his state sentence. He was terminated from state

incarceration on December 5, 2007. On December 7, 2007 the U.S. Marshal’s Office transported

the defendant to the Federal Bureau of Prisons to commence service of his 41 month federal

sentence as provided by Title 18 U.S.C.§3585(a).

        As the court instructed at the sentencing hearing, any credit for time served is strictly a

recommendation. The Bureau of Prisons has sole authority to determine any duplicate credit for

time served. Barden v. Keohane, 921 F.2d 476, 480 nn.9-10 (3d Cir. 1990). In this instance, the

defendant is not eligible for double credit time served since June 19, 2006. He was a state

prisoner before becoming a federal prisoner regardless of any subsequent orders placing him in

the custody of the U.S. Marshal. The order of custody, dated June 19, 2006 from Magistrate

Vecchiarelli, only assured that a detainer would be placed on the defendant.

       The motions [docs. 168 and 172] requesting a correction of the sentence must be denied.

However, after careful consideration, the court strongly recommends that the Bureau, after

careful review of all relevant factors under Title 18 U.S.C.§3621(b), favorably consider Horton’s

request for a retroactive (concurrent) designation.


       IT IS SO ORDERED.



                                                      s/Ann Aldrich
                                                      ANN ALDRICH
                                                      UNITED STATES DISTRICT JUDGE
       Dated: July 28, 2008
